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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------X
UNITED STATES OF AMERICA                              :      14 Cr. 68 (KBF)

                 - against -                        :        (Electronically Filed)

ROSS ULBRICHT,                                      :

                           Defendant.                 :
------------------------------------------------------X


                      DECLARATION OF JOSHUA J. HOROWITZ

        Joshua J. Horowitz, Esq., pursuant to 28 U.S.C. §1746, hereby declares the

following under penalty of perjury:

        1. I am an attorney licensed to practice law in New York State, and admitted to

practice in the United States District Courts for the Southern and Eastern Districts of New

York. My practice is concentrated on criminal defense matters that require expertise in

technology and computer software.

        2. Along with Joshua L. Dratel, P.C., I represent Ross Ulbricht in the above-

captioned matter, and make this statement with regard to technical assertions made in the

Government’s response to Defendant’s omnibus motion.

        3. As detailed below, my review of the discovery has led to the following

conclusions:

        (1) based on the Silk Road Server’s configuration files provided in discovery,

        former Special Agent Tarbell’s explanation of how the FBI discovered the

        server’s IP address is implausible;

        (2) the account by former Special Agent Tarbell in his Declaration differs in

        important respects from the government’s June 12, 2013, letter to Icelandic


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       authorities. For example, that letter (which is Exhibit A to the government’s

       opposition papers) suggests the possibility of an alternative method for the

       government’s identifying and locating the Silk Road Server;

       (3) former Special Agent Tarbell’s explanation is vague and lacks supporting

       documentary and forensic evidence that should exist if former Special Agent

       Tarbell had adhered to the most rudimentary standards of computer forensic

       analysis, but which he apparently did not follow, or failed to preserve evidence of

       his alleged work that could substantiate the government’s account (and which the

       defense has now requested);

       (4) several critical files provided in discovery contain modification dates

       predating the first date Special Agent Tarbell claims Icelandic authorities imaged

       the Silk Road Server, thereby casting serious doubt on the chronology and

       methodology of his account; and

       (5) the Government’s version contains additional inconsistencies, including items

       referred to and/or indicated by former Special Agent Tarbell’s Declaration, but

       not produced in discovery.

I.     Qualifications

       4. For the past ten years, I have used a variety of GNU/Linux operating systems

and have become extensively familiar with their configuration and operation. My

technical knowledge has been acquired through building a variety of computer systems

over the course of a lifetime.

       5. I have previously been retained for my expertise as a technology lawyer in

matters involving organized crime, public corruption, and violations of HIPAA. I have




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also been successful in tracing the origins of an anonymous threatening e-mail through

the use of pre-action discovery.

       6. While in law school, I received training at the Software Freedom Law Center,

a non-profit organization providing pro bono counsel to Free and Open Source Software

developers (FOSS).

       7. I have lectured to the New York Criminal Bar Association on issues involving

technology in criminal defense practice. I have also lectured at several conferences for

software developers on legal issues in software development.

       8. I am an active member of the New York State Association of Criminal

Defense Lawyers and have co-authored an article on forensic laboratory accreditation for

the organization’s publication, Atticus.

II.    Description of Materials Reviewed

       9.   In preparing this Affidavit, I have reviewed the materials provided to the

defense in discovery and the documents filed in connection with this proceeding. The

discovery materials included forensic images of the Silk Road web server.1 According to

the government, the earliest image was captured June 6, 2013, and the latest in November

2013. The server images contained web server configuration files, records of traffic on

the Silk Road site, MySQL databases, and a number of other file types.

       10. The discovery materials provided to defense counsel include three two-

terabyte hard drives and several USB thumb drives. Each hard drive contains numbered

folders corresponding to item numbers contained in the Government’s March 21, 2014,




1 Each web server forensic image is a snapshot of the entire contents of the server at the

exact moment the image was captured.

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letter, a copy of which is attached hereto as Exhibit 1. The total volume of discovery is

several terabytes of data comprised of several hundred thousand digital files.

III.    Silk Road Server Configuration

        11. The server images provided in discovery establish that the Silk Road was

run on the Ubuntu Server operating system, version 12.04.2. Ubuntu is a widely

distributed and freely available Linux-based open-source operating system. The server

utilized Nginx to serve its web content, a popular, high-performance web server capable

of handling high volumes of traffic. The role of the web server is to deliver web content

to the client, i.e., the individual visiting the site.2

        12. Nginx has the capability to serve more than one website from the same

physical hardware server. In order to do so, the server must affirmatively be configured

for that purpose. This type of configuration is called virtual hosting. There are two file

folders containing virtual host configuration files, “sites-available” and “sites-enabled.”

        13. The “sites-available” folder contains the configuration files for any of the

virtual hosts available on the server. To be activated, the “sites-enabled” folder must

contain a link to a configuration file in the “sites-available” folder. Without the existence

of that link, the site configuration in the virtual host file is not active.3

        14. In July 2013, the Silk Road site was split between two different servers, a

front-end and back-end server. The front-end is what the user sees and interacts with,




2 According to the nginx wiki, a number of popular web services such as Netflix, Airbnb,

and Zappos utilize Nginx. See wiki.nginx.org.
3
  For example, if there are ten virtual host configurations in the “sites-available” folder,
but no links to any of them in the “sites-enabled” folder, then there are no live virtual host
configurations.

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while the back-end is where the “under the hood” operations take place, such as fetching

data and entering new data in a database.

       15. By default, the Nginx web server maintains two separate logs of activity on

the server, an access log and an error log. The access log stores information about

requests for information processed by the web server, while the error logs store

information about any problems encountered by the web server.

       16. A single logged request in the access log looks as follows:

“62.75.246.20 - - [14/Jul/2013:06:55:33 +0000] "GET /orders/cart HTTP/1.0" 200 49072
"http://silkroadvb5piz3r.onion/silkroad/item/0f81d52be7" "Mozilla/5.0 (Windows NT 6.1;
                                          4
rv:17.0) Gecko/20100101 Firefox/17.0"

This snippet provides information about the IP address of the web client accessing the

server, what files were accessed, how the web server responded to the user request, and

the dates and times of access. From this log and the server configuration files, it is

apparent that the server assigned IP address 193.107.86.49 (hereinafter the “.49 server”)

was configured as the back-end to the Silk Road. The access logs show that the server

assigned IP address 65.75.246.20 was constantly requesting data from the .49 server.5

This is because the server with IP address 65.75.246.20 (hereinafter “the front end

server”) acted as the front-end to the Silk Road site.




4 This excerpt of the Nginx access log is located in the first item discovery in the

directory/orange21/var/log/nginx. According to law enforcement, this server was
assigned IP address 193.107.86.49.
5 The server assigned IP address 65.75.246.20 was provided as Item 15 in discovery and

was imaged in October 2013. See Exhibit 1.

                                              5
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IV.    Former Special Agent Tarbell’s Explanation Of Receiving Part
       of the Silk Road Login Page from a Non-Tor Browser is Implausible

       A.      The Server Configuration Files Refute Tarbell’s Claims

       17. Based on the server configuration files provided by the government, access to

market data from a non-Tor IP address would have been precluded.6

       18. The Government’s response to Mr. Ulbricht’s omnibus motion filed

September 5, 2014, contains a Declaration from former FBI Special Agent Christopher

Tarbell, attached hereto as Exhibit 2 (Dkt #57). The Declaration contains a vague

explanation of how the IP address of the Silk Road server was initially discovered. For

instance, former SA Tarbell asserts that, “[w]hen I typed the Subject IP Address into an

ordinary (non-Tor) web browser, a part of the Silk Road login screen (the CAPTCHA

prompt) appeared.” Tarbell Decl. at ¶ 8. As explained below, based upon the Nginx

server configuration files provided in discovery, that was not possible.

               1.      Live-ssl Configuration

       19. The “sites-available” directory from Item 1 contains four files: live-ssl,

default, phpmyadmin, and test-domain. The “sites-enabled” folder contains two links to

the live-ssl and phpmyadmin files. As discussed ante, at ¶ 13, this means that at the time

this image was captured only the live-ssl and phpmyadmin virtual host site configuration

files were active.




6 The guide on “Torifying” various applications cited to in ¶ 5 of the Tarbell Declaration

is applicable to client-side configurations, not server-side. The client-side vulnerabilities
discussed in the guide apply to end-users attempting to configure various applications on
their local machines to connect to the Tor network. For discussion on properly
configuring Tor hidden services, see https://www.torproject.org/docs/tor-hidden-
service.html.en (last accessed September 21, 2014).



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       20. Based on my experience, I know that Linux-based operating systems (such as

Ubuntu, which was used to power the Silk Road Server) record modification times for

each file. This is known as a file’s “mtime,” which shows the age of the data contained

in the file. When information is added or deleted from a file, its mtime will be updated

by the operating system.7 The mtime for the live-ssl configuration file provided in Item 1

of discovery is June 7, 2013, and the phpmyadmin configuration is July 6, 2013.8 See

mtime for site configuration files from Item 1 of discovery and the contents of the ‘sites-

enabled’ directory, attached hereto as Exhibit 2.

       21. In response to defense counsel’s September 17, 2014 letter, demanding

additional discovery, attached hereto as Exhibit 3, the government provided additional

information and discovery by letter dated September 23, 2014, attached hereto as Exhibit

4. The government’s September 23, 2014, letter included an excerpt of 19 lines from

Nginx access logs, attached hereto as Exhibit 5, supposedly showing law enforcement

access to the .49 server from a non-Tor IP address June 11, 2013, between 16:58:36 and

17:00:40. According to the Government, this is the only contemporaneous record of the

actions described by the Tarbell Declaration at ¶¶ 7-8.9

       22. Spanning from May 26, 2013 to October 2, 2013, there were a total of

168,361,443 lines of Nginx access logs provided to defense counsel. Of those, roughly

25,988,136 fit within the early June 2013 timeframe provided in the Tarbell Declaration,



7
  See, mtime, ctime, and atime, available at http://www.unix.com/tips-and-
tutorials/20526-mtime-ctime-atime.html (accessed September 21, 2014).
8
  Since Item 1 is the oldest image provided in discovery the defense does not have site
configuration data prior to June 7, 2013.
9 See government September 23, 2014, letter (Ex.4), at 4, which states: “[o]ther than

Attachment 1, the Government is not aware of any contemporaneous records of the
actions described in paragraphs 7 and 8 of the Tarbell declaration.”

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¶ 7. Without identification by the Government, it was impossible to pinpoint the 19 lines

in the access logs showing the date and time of law enforcement access to the .49 server.

      23. The “live-ssl” configuration controls access to the market data contained on the

.49 server. This is evident from the configuration line: 10

          root /var/www/market/public

which tells the Nginx web server that the folder “public” contains the website content to

load when visitors access the site.

        24. The critical configuration lines from the live-ssl file are:

  allow 127.0.0.1;
  allow 62.75.246.20;
  deny all;

These lines tell the web server to allow access from IP addresses 127.0.0.1 and

65.75.246.20, and to deny all other IP addresses from connecting to the web server. IP

address 127.0.0.1 is commonly referred to in computer networking as “localhost” i.e., the

machine itself, which would allow the server to connect to itself. 65.75.246.20, as

discussed ante, is the IP address for the front-end server, which must be permitted to

access the back-end server. The “deny all” line tells the web server to deny connections

from any IP address for which there is no specific exception provided.

      25. Based on this configuration, it would have been impossible for Special Agent

Tarbell to access the portion of the .49 server containing the Silk Road market data,

including a portion of the login page, simply by entering the IP address of the server in

his browser. As discussed in ¶ 24, the server was configured to refuse connections from

all outside IP addresses with only one exception, the front-end server IP. Certainly, the

IP address of the machine that Tarbell attempted to connect with did not have this IP

10 The full text of the live-ssl configuration file is attached as Exhibit 6.



                                               8
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address, and the server would therefore have refused his connection attempt.

            2.    Phpmyadmin Configuration

      26. As discussed ante at ¶ 19, the .49 server contained two live virtual host

configuration files, live-ssl and phpmyadmin. Phpmyadmin is an extremely popular

open-source tool used to administrate MySQL databases from a web browser such as

Google Chrome, Mozilla Firefox, or Internet Explorer. According to Sourceforge.net,

phpmyadmin has been downloaded 2,375,431 times just this year and is available in

numerous languages.11 It is implemented on a large number of web servers around the

world.

      27. The active phpmyadmin configuration file contained in Item 1 of discovery

contains the following lines12:

         listen 80;
         root /usr/share/phpmyadmin;
         allow 127.0.0.1;


These lines direct the phpmyadmin virtual host to listen on port 80, which is the standard

port for web traffic, and also tells Nginx to serve files from the phpmyadmin folder. The

absence of “deny all” means that it would be possible for an IP address outside the Tor

network to connect to the .49 server.

      28. However, an IP address outside the tor network would have been able to access




11
   See http://sourceforge.net/projects/phpmyadmin/files/stats/timeline?dates=2014-01-
01+to+2014-09-27, (last accessed September 27, 2014). Sourceforge.net is a popular site
used by open-source software developers to host projects.
12
   The full text of the phpmyadmin configuration file is attached as Exhibit 7.

                                             9
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only the login page for phpmyadmin13 and the files contained in the phpmyadmin folder,

not any part of the Silk Road market or even the login screen, as claimed in the Tarbell

Declaration, at ¶ 8. The 19-line excerpt from the Nginx access logs provided by the

government confirms that fact. According to that excerpt, the server files accessed by

law enforcement were all contained within the phpmyadmin folder and there was never

any direct access to the actual Silk Road market data or even a login page for the market.

     29. Rather, based on the server configuration files provided, the Silk Road login

page referred to in ¶ 8 of the Tarbell Declaration must have been merely the login page

for phpmyadmin and its underlying files. As discussed ante, phpmyadmin is an

extremely popular tool for database administration, and its mere existence on the .49

server does not in any way demonstrate that illegal activity was conducted on the server.

     30. Of the total 168,361,443 lines of Nginx access logs provided in discovery, only

3,348 show access to the .49 server from an outside IP address. All of these attempts

show access to either the phpmyadmin files contained on the server or hacking attempts

conducted on port 80. This data demonstrates that an outside IP address was never able

to access the Silk Road market login page or files, and the law enforcement IP was no

exception.

     B.      The Tarbell Declaration Raises More Questions Than it Answers

                1.    Lack of Supporting Evidence

       31. Agent Tarbell explains that in early June 2013, he and another FBI Agent,

“closely examined the traffic data being sent from the Silk Road website” and that they

13
   A screenshot of the phpmyadmin login page is attached hereto as Exhibit 8. For
comparison, a screenshot of the Silk Road market login page is attached hereto as Exhibit
9, available at http://www.businessinsider.com/silk-road-walkthrough-2013-3?op=1 (last
accessed September 30, 2014).

                                            10
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had, “examin[ed] the individual packets of data being sent back from the website . . .

notic[ing] that the headers of some of the packets reflected a certain IP address not

associated with any known Tor node.” See Tarbell Decl. ¶¶ 7-8. Based on my

experience, I know this to describe an activity commonly referred to as packet sniffing.

       32. A packet sniffer is a computer program used to intercept and log traffic

passing over a network interface, i.e., a computer’s software and/or hardware components

that allow it to connect to the internet. For example, a laptop computer may have both an

Ethernet port for a hard-wired internet connection and a wireless LAN card as its network

interfaces.

       33. One of the most popular and freely available packet sniffing tools is a

computer program called Wireshark.14 Wireshark can be easily configured to capture and

record detailed information about each packet of web traffic as it is transmitted or

received over a network interface. Among this information is a very precise timestamp

(in seconds, to the 9th decimal place) for when the packet was logged, and information

pertaining to the source and destination IP addresses of the packet.15

       34. Using Wireshark’s default configuration, the user would have had to

affirmatively chosen not to save any logged information. Indeed, before exiting the

program, the user is prompted with the question: “Do you want to save the captured

packets before quitting? Your captured packets will be lost if you don’t save them.”16



14
   A disc of discovery materials provided to the defense by the FBI on September 18,
2014 contained a copy of Wireshark, strongly suggesting that the FBI is familiar with this
tool. The disc of materials contained pen register data stored in .pcap files. Wireshark
can be used to view this type of information.
15
   An example of the detailed information that can be captured about a single packet
using Wireshark is attached hereto as Exhibit 10.
16
   See Wireshark Exit Screen screenshot, attached hereto as Exhibit 11.

                                             11
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        35. Failure to preserve packet logs recorded while investigating the Silk Road

servers would defy the most basic principles of forensic investigative techniques. Agent

Tarbell is certified by the International Association of Computer Investigative Specialists

as a Forensic Computer Examiner. See Tarbell Decl. ¶ 3. Some of the core competencies

required for this certification include:

      a. Knowledge of search and seizure, legal process, and rules of evidence
      as applicable to computer forensics, laws, and procedures.
      b. Ability to explain on-scene actions taken for the preservation of digital
      evidence.
      c. Knowledge of proper computer search and seizure methodologies to
      include photographic and scene sketch procedures and documentation.
      d. Ability to establish, maintain and document a forensically sound
      examination environment.17

      36. Despite the ease of preserving this information, The Government’s September

23, 2014 letter to defense counsel explicitly provides, “[o]ther than Attachment 1, the

Government is not aware of any contemporaneous records of the actions described in

paragraphs 7 and 8 of the Tarbell declaration.” The referenced Attachment 1 is the Nginx

access log excerpt attached hereto as Exhibit 5.

      37. Consequently, the government’s position is that former SA Tarbell conducted

his investigation of Silk Road, and penetrated the Silk Road Server, without documenting

his work in any way.




17
   See IACIS CFCE Core Competencies, available at
http://www.iacis.com/SiteAssets/Documents/CFCE_core_competencies.pdf (last
accessed September 20, 2014). See also US DOJ: Forensic Examination of Digital
Evidence: A Guide for Law Enforcement, Apr. 2004, available at
https://www.ncjrs.gov/pdffiles1/nij/199408.pdf (Chapter 5 on Documenting and
Reporting, instructing investigators to keep in-depth records of tasks performed during a
forensic investigation).

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                  2.   FBI Fuzzing of The Silk Road Server

       38. Former Special Agent Tarbell states, “[w]e were simply interacting with the

website’s user login interface, which was fully accessible to the public, by typing in

miscellaneous entries into the username, password, and CAPTCHA fields contained in

the interface.” Tarbell Decl., at ¶ 7 (emphasis added). I know from experience that the

activity described by Special Agent Tarbell is commonly referred to as “fuzzing.”

       39. “Fuzzing” is the automated or semi-automated process of feeding semi-

random input data into a computer program to test for vulnerabilities or security holes in

the software.18

     40. The government’s September 23, 2014, letter to defense counsel (Ex. 4) makes

clear that other than the 19-line excerpt from the Nginx access logs, there are no other

records of the activity described in ¶¶7-8 of the Tarbell Declaration. In response to

questions 6-11 (in defense counsel’s September 17, 2014, letter to the government (Ex.

3)), the government has directed defense counsel to “[s]ee response to request #5[,]”

referring to the solitary access log excerpt provided by the government. However, that

excerpt explains only a very small portion of ¶8 of the Tarbell Declaration: “[w]hen I

typed the Subject IP Address into an ordinary (non-Tor) browser, a part of the Silk Road

login screen (the CAPTCHA prompt) appeared.” None of the steps leading to the

discovery of the Silk Road server IP as described in ¶¶ 7-8 are explained by the excerpt.

     41. For example, request 9 in defense counsel’s September 17, 2014, letter (Ex. 3)

asks for, “[a]ny and all valid login credentials used to enter the Silk Road site.” This

request was made in light of ¶ 7 of the Tarbell Declaration, which described the use of

18
  See Fuzz Testing, available at http://en.wikipedia.org/wiki/Fuzz_testing (last accessed
September 20, 2014).

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valid login credentials for undercover accounts to enter the site. Based on my review of

the Nginx access logs provided in discovery, I know that a valid login to the site is

recorded as follows:

        GET/silkroad/user/f01861c317

where “f01861c317” corresponds with a user identification number stored in the MySQL

database contained in the server image. The 19-line excerpt provided by the Government

contains no such requests indicating a valid login to the site.

        42. If, as the Government asserts, there are no additional records of the activity

described in ¶¶ 7-8 of the Tarbell Declaration, then the “miscellaneous entries” described

therein never occurred.

                 3.      Mtime of Server Data Provided in Item 1 of
                         Discovery Predates Initial Imaging of Silk Road Server

          43. According to the government’s March 21, 2014, letter (Ex. 1), Item 1 of

discovery contains the initial image of the Silk Road Server captured in July 2013, with

IP address 193.107.86.49 (the allegedly “leaked” IP). According to the Tarbell

Declaration, at ¶ 9, an official request was made to Icelandic authorities June 12, 2013, to

“covertly image the contents of the Subject Server.” This is confirmed by a June 12,

2013, letter to the Reykjavik Metropolitan Police from Assistant United States Attorney

Serrin Turner.19 According to Tarbell, “[a]fter obtaining the necessary court order under

Icelandic law, the RMP imaged the Subject Server on July 23, 2013.” Tarbell Decl. ¶ 12.

          44. However, footnote 7 of the Tarbell Declaration states that several months

earlier, a lead had been developed on a different server in Iceland with IP address

193.107.84.4 (hereinafter “the .4 server”). By letter of request to Icelandic authorities

19
     Attached to the Tarbell Declaration as Exhibit A.

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dated February 28, 2013, U.S. law enforcement requested, inter alia that Icelandic

authorities obtain traffic data for the server and covertly image it after consulting with the

FBI. 20 By the time the requested information was produced by Icelandic authorities, the

Silk Road server was no longer hosted at the server with IP address ending in .4, and

“[a]s a result, the FBI did not request that Icelandic authorities proceed with imaging [the

.4 server.]”21

          45. The Tarbell Declaration states, “[t]he RMP provided a copy of the image of

the [.49 Server] to the FBI on or about July 29, 2013.” Tarbell Decl. at ¶ 13. It fails to

mention that the .4 server images were nevertheless provided to U.S. law enforcement at

that time. The government’s September 23, 2014, letter to defense counsel provides:

           Icelandic authorities had already imaged the contents of [the .4] server
           by this time, on or about June 6, 2013. Although the Government did
           not ask Icelandic authorities to share the image of [the .4] server,
           Icelandic authorities included the image on the same device on which
           it produced the image of the SR Server to the Government on or about
           July 29, 2013.

Thus, according to the modification time of the .4 server images and the timeline

provided in the Tarbell Declaration, the .4 server was imaged on June 6, 2013, prior to

obtaining permission from the Icelandic Courts.

          46. As discussed ante in ¶ 20, the “mtime” or modification time of a file indicates

how old the data in the file is, i.e. when it was last modified.

          47. The “images” provided to US law enforcement by the Republic of Iceland are

actually “.tar.gz” compressed archive files. This type of compressed archive file is




20
     Letter attached to the Tarbell Declaration as Exhibit B.
21 See Tarbell Declaration, at ¶ 9, n. 7.



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commonly referred to as a “tarball.” It is convenient to store files in this format because

multiple files can be grouped into one for easier portability and storage.

       48. There are a total of 4 tarballs in the first item of discovery: home, var, all, and

orange21 – all contained in .tar.gz files. The mtime for orange21.tar.gz is consistent with

the July 23, 2013 image date. However, the other 3 tarballs have an mtime of June 6,

2013, as shown below22:

root          30720 Jun 6 2013 home.tar.gz
root     737095680 Jun 6 2013 var.tar.gz
root 1728276480 Jun 6 2013 all.tar.gz
root 22360048285 Jul 23 2013 orange21.tar.gz

The modification date of the tarballs is consistent with an imaging date of June 6, 2013, a

full six weeks before the July 23, 2013, imaging of the .49 Server, a fact never mentioned

in the Tarbell Declaration.

V.     Other Inconsistencies In the Government’s Version

       49. Agent Tarbell states, “[t]he subject IP address was independently identified

solely by . . . examining the traffic data sent back from the Silk Road website when we

interacted with its user login interface.” Tarbell Decl. at footnote 7. Yet, that claim is

inconsistent with language in the June 12, 2013, letter to the Reykjavik Metropolitan

Police, which indicates that analysis of traffic logs from the server assigned IP address




22
   This is a slightly modified version of the output from the Unix command “ls –ltr”. ls is
a unix program that is used to list the contents of a folder. When executed with the “-l”
option, the program gives file information in its long listing format. This information
includes, among other things, the modification time of the files in the directory.

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193.107.84.4 may have aided law enforcement in determining the location of the .49

server.23

        50. The Government’s March 21, 2014, discovery letter (Ex. 1) indicates that

item 9 in discovery contains an image of the Silk Road marketplace server captured in

September 2013. By letter dated September 26, 2013,24 U.S. Law Enforcement officials

requested that Icelandic authorities reimage the .49 server and provide the contents to the

FBI. However, the discovery materials contain no such image, which according to the

government’s September 23, 2014, letter, was in error.

VI.     Conclusion

        51. As set forth above, there are a number of factual issues in dispute that need to

be resolved:

        (1) based on the Silk Road Server’s configuration files provided in discovery,

        former Special Agent Tarbell’s explanation of how the FBI discovered the

        server’s IP address is implausible;

        (2) the account by former Special Agent Tarbell in his Declaration differs in

        important respects from the government’s June 12, 2013, letter to Icelandic

        authorities. For example, that letter (which is Exhibit A to the government’s

        opposition papers) suggests the possibility of an alternative method for the

        government’s identifying and locating the Silk Road Server;



23 On September 18, 2014 defense counsel was provided with traffic logs for the .49, .4,

and .34 servers. At this stage of review, it does not appear that the .4 logs contain any
information that could have aided law enforcement in determining the location of the .49
server. Given the short period of time to review this information prior to filing, counsel
reserves the right to file supplemental briefing based on the continued review of this
material.
24 Attached to the Tarbell Declaration as Exhibit D.



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       (3) former Special Agent Tarbell’s explanation is vague and lacks supporting

       documentary and forensic evidence that should exist if former Special Agent

       Tarbell had adhered to the most rudimentary standards of computer forensic

       analysis, but which he apparently did not follow, or failed to preserve evidence of

       his alleged work that could substantiate the government’s account (and which the

       defense has now requested);

       (4) several critical files provided in discovery contain modification dates

       predating the first date Agent Tarbell claims Icelandic authorities imaged the Silk

       Road Server, thereby casting serious doubt on the chronology and methodology of

       his account; and

       (5) the Government’s version contains additional inconsistencies, including items

       referred to and/or indicated by former Special Agent Tarbell’s Declaration, but

       not produced in discovery.

       52. These discrepancies between former Special Agent Tarbell’s claims and the

forensic reality of the discovery cannot be resolved without an evidentiary hearing.

       I declare under penalty of perjury that the foregoing is true and correct to the

best of my knowledge and belief. 28 U.S.C. §1746. Executed September 30, 2014.



                                                     __________________________
                                                     JOSHUA J. HOROWITZ




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